                                        Motion (27) is DENIED because the parties offer no explanation on
                                        why they need a stay for 90 days.

                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION
                                                                           US DISTRICT JUDGE
 TENNESSEE RIVERKEEPER, INC.,                  )
                                               )
         PLAINTIFF,                            )
                                               )
 v.                                            )   Case No. 3:23-cv-01369
                                               )
 CITY OF LEBANON, TENNESSEE,                   )   JURY TRIAL DEMANDED
                                               )
         Defendant,                            )
                                               )



                   JOINT MOTION TO STAY PENDING MEDIATION


        Defendant, City of Lebanon, Tennessee, and Plaintiff, Tennessee Riverkeeper, Inc.

(collectively, the “Parties”), jointly move this Court for an order staying this action for 90 days

pending mediation of Plaintiff’s claims. As grounds for this motion, the Parties state as follows:

        1.     The Parties are engaged in settlement discussions and have agreed to mediate the

case.

        2.     The Parties are presently working to schedule mediation and are optimistic that

they will be able to conduct a mediation within the next 90 days.

        3.     Federal district courts have “broad discretion to stay proceedings as an incident to

[their] power to control [their] own docket[s],” Clinton v. Jones, 520 U.S. 681, 708 (1997), and

routinely stay actions pending mediation. See, e.g., Yoe v. Crescent Sock Co., No. 1:15-CV-3-

SKL, 2018 WL 10162238, at *14 (E.D. Tenn. Sept. 7, 2018).

        4.     A stay is appropriate here because it will promote judicial economy and efficiency

by allowing the Parties to devote time and resources to potentially resolving this action through




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